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 burden to recover Just Compensation is inversed from the government to the
 Plaintiff. And, although, equitable remedies are just remedies under the Self-
 Executing Takings Clause, “A bank robber might give the loot back, but he still
 robbed the bank.” Knick v. Twp. of Scott, 139 S. Ct. 2162 (2019).
 Inverse condemnation under Section 1983 is a legal remedy, and whether a person
 has suffered deprivation of all economically viable use of the property, is a factual
 question. A request for prejudgment interest is for the trial court, and not the jury,
 as the right to Compensation rests upon the Fifth Amendment.
                                            Just Compensation
 In 2020, a new regulatory framework was introduced, enabling utility companies to
 enter into power purchase agreement contracts with generating facilities of 20MW
 or less for terms up to 12 years.2 This innovative approach offers a cost-effective
 solution for smaller facilities to compete with larger ones, which typically have
 power purchase agreement contracts spanning 25 years or more. The expenses and
 revenue of a 20MW solar project can be reliably estimated using government data.3
 The date of the Taking is undisputable and affirmed by the Defendant. On October
 12, 2021, the Defendant effectively rendered the property worthless by denying the
 application, without any possibility of appeal. Despite this, property taxes remain
 due.4
 THEREFORE, Plaintiff respectfully requests that the Court direct the Defendant
 to deposit prejudgment interest, as mandated by statute and the Constitution, with
 the Court. Furthermore, the Plaintiff requests to withdrawal the amount, according
 to the facts. 40 U.S.C. § 3116(a)(2).

 2
   Cal. Pub. Utils. Comm'n, Qualifying Facility & CHP Procurement Options, https://www.cpuc.ca.gov/industries-
 and-topics/electrical-energy/electric-power-procurement/qualifying-facility--and-combined-heat-and-power-
 procurement-options
 3
   NREL, 2021 Annual Technology Baseline, Utility-Scale PV, https://atb nrel.gov/electricity/2021/utility-
 scale pv#7YHPYQX2
 4
     Ex. 1 (1990-2023 Tax Rolls, 1990 assessed value of $8,376,250, $535,727, respectively).


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 “I declare (or certify, verify, or state) under penalty of perjury under the laws of the
 United States of America that the foregoing is true and correct.”




 Clinton Brown                                                      03/22/2023




                              Motion for Deposit and Distribution
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      Bill Number       Bill     Bill        Date to       Recording                     Total Value                             Land Value                          Improvement Value
                       Type     Status       Auditor         Date
        2100000          R         A       07/22/2010      10/06/2005 $                                  397,009 $                                397,009 $                                      0
        2090000          R         A       06/11/2009      10/06/2005 $                                  397,953 $                                397,953 $                                      0
        2080000          R         A       06/12/2008      10/06/2005 $                                  390,150 $                                390,150 $                                      0
        2070000          R         A       06/14/2007      10/06/2005 $                                  382,500 $                                382,500 $                                      0
        2060000          R         A       06/22/2006      10/06/2005 $                                  375,000 $                                375,000 $                                      0
        2050100          T         A       01/01/2006      10/06/2005 $                                  375,000 $                                375,000 $                                      0
        2050000          R         A       06/24/2005      05/24/1985 $                                  600,000 $                                600,000 $                                      0
        2040001          C         A       05/15/2005      05/24/1985 $                                  600,000 $                                600,000 $                                      0
        2040000          R          I      06/26/2004      05/24/1985 $                                4,763,720 $                              4,763,720 $                                      0
        2030000          R         A       06/27/2003      05/24/1985 $                                4,763,720 $                              4,763,720 $                                      0
        2020000          R         A       07/05/2002      05/24/1985 $                                4,763,720 $                              4,763,720 $                                      0
        2010000          R         A       06/30/2001      05/24/1985 $                                4,763,720 $                              4,763,720 $                                      0
        2000000          R         A       07/13/2000      05/24/1985 $                                4,763,720 $                              4,763,720 $                                      0
        1990000          R         A       07/16/1999      05/24/1985 $                                4,763,720 $                              4,763,720 $                                      0
        1980000          R         A       07/14/1998      05/24/1985 $                                4,763,720 $                              4,763,720 $                                      0
        1970000          R         A       07/19/1997      05/24/1985 $                                4,763,720 $                              4,763,720 $                                      0
        1960000          R         A       08/03/1996      05/24/1985 $                                4,763,720 $                              4,763,720 $                                      0
        1950000          R         A       07/29/1995      05/24/1985 $                                4,763,720 $                              4,763,720 $                                      0
        1940002          C         A       04/02/1995      05/24/1985 $                                4,763,720 $                              4,763,720 $                                      0
        1940001          C          I      08/16/1994      05/24/1985 $                                9,656,361 $                              9,656,361 $                                      0
        1940000          R          I      07/31/1994      09/12/1991 $                                9,656,361 $                              9,656,361 $                                      0
        1930003          C         A       04/02/1995      05/24/1985 $                                4,763,720 $                              4,763,720 $                                      0
        1930002          C          I      08/16/1994      05/24/1985 $                                9,467,021 $                              9,467,021 $                                      0
        1930001          C          I      04/10/1994      05/24/1985 $                                9,467,021 $                              9,467,021 $                                      0
        1930000          R          I      07/31/1993      05/24/1985 $                                9,467,021 $                              9,467,021 $                                      0
        1920002          C         A       08/16/1994      05/24/1985 $                                9,281,394 $                              9,281,394 $                                      0
        1920001          C          I      04/10/1994      05/24/1985 $                                9,281,394 $                              9,281,394 $                                      0
        1920000          R          I      07/29/1992      05/24/1985 $                                9,281,394 $                              9,281,394 $                                      0
        1910000          R         A       07/26/1991      05/24/1985 $                                9,099,406 $                              9,099,406 $                                      0
        1900000          R         A       08/15/1990      05/24/1985 $                                8,920,987 $                              8,920,987 $                                      0
        1890000          R         A       08/04/1989      05/24/1985 $                                8,746,066 $                              8,746,066 $                                      0
        1880001          C         A       10/29/1988      05/24/1985 $                                8,574,575 $                              8,574,575 $                                      0
        1880000          R          I      08/23/1988      05/24/1985 $                                8,543,775 $                              8,543,775 $                                      0
        1870100          N         A       10/29/1988      05/24/1985 $                                8,407,050 $                              8,407,050 $                                      0
        1870000          W         W       06/20/1990      05/24/1985 $                                8,376,250 $                              8,376,250 $                                      0




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      Bill Number       Bill     Bill        Date to       Recording                     Total Value                             Land Value                          Improvement Value
                       Type     Status       Auditor         Date
        2100000          R         A       07/22/2010      10/06/2005 $                                    62,355 $                                 62,355 $                                     0
        2090000          R         A       06/11/2009      10/06/2005 $                                    62,504 $                                 62,504 $                                     0
        2080000          R         A       06/12/2008      10/06/2005 $                                    61,279 $                                 61,279 $                                     0
        2070000          R         A       06/14/2007      10/06/2005 $                                    60,078 $                                 60,078 $                                     0
        2060000          R         A       06/22/2006      10/06/2005 $                                    58,900 $                                 58,900 $                                     0
        2050100          T         A       01/01/2006      10/06/2005 $                                    58,900 $                                 58,900 $                                     0
        2050000          R         A       06/24/2005      09/11/1987 $                                  721,238 $                                721,238 $                                      0
        2040000          R         A       06/26/2004      09/11/1987 $                                  707,097 $                                707,097 $                                      0
        2030000          R         A       06/27/2003      09/11/1987 $                                  694,138 $                                694,138 $                                      0
        2020000          R         A       07/05/2002      09/11/1987 $                                  680,528 $                                680,528 $                                      0
        2010000          R         A       06/30/2001      09/11/1987 $                                  667,185 $                                667,185 $                                      0
        2000000          R         A       07/13/2000      09/11/1987 $                                  654,103 $                                654,103 $                                      0
        1990000          R         A       07/16/1999      09/11/1987 $                                  641,278 $                                641,278 $                                      0
        1980000          R         A       07/14/1998      09/11/1987 $                                  629,612 $                                629,612 $                                      0
        1970000          R         A       07/19/1997      09/11/1987 $                                  617,267 $                                617,267 $                                      0
        1960000          R         A       08/03/1996      09/11/1987 $                                  605,164 $                                605,164 $                                      0
        1950000          R         A       07/29/1995      09/11/1987 $                                  598,521 $                                598,521 $                                      0
        1940001          C         A       08/16/1994      09/11/1987 $                                  591,483 $                                591,483 $                                      0
        1940000          R          I      07/31/1994      09/12/1991 $                                  591,483 $                                591,483 $                                      0
        1930002          C         A       08/16/1994      09/11/1987 $                                  579,886 $                                579,886 $                                      0
        1930001          C          I      04/17/1994      09/11/1987 $                                  579,886 $                                579,886 $                                      0
        1930000          R          I      07/31/1993      09/11/1987 $                                  579,886 $                                579,886 $                                      0
        1920002          C         A       08/16/1994      09/11/1987 $                                  568,516 $                                568,516 $                                      0
        1920001          C          I      04/17/1994      09/11/1987 $                                  568,516 $                                568,516 $                                      0
        1920000          R          I      07/29/1992      09/11/1987 $                                  568,516 $                                568,516 $                                      0
        1910000          R         A       07/26/1991      09/11/1987 $                                  557,369 $                                557,369 $                                      0
        1900000          R         A       08/15/1990      09/11/1987 $                                  546,441 $                                546,441 $                                      0
        1890000          W         W       06/20/1990      09/11/1987 $                                  535,727 $                                535,727 $                                      0




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